Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   1 of
                                                                  1 of 53 53



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                         ENTERED
                                                                                                             11/28/2018
                                                               §
   In re:                                                      §      Chapter 11
                                                               §
   GASTAR EXPLORATION INC., et al.,1                           §      Case No. 18-36057 (MI)
                                                               §
                                    Debtors.                   §      (Jointly Administered)
                                                               §

    FINAL ORDER PURSUANT TO SECTIONS 105, 361, 362, 363, 364, AND 507 OF THE
   BANKRUPTCY CODE (I) AUTHORIZING DEBTORS TO OBTAIN SUPERPRIORITY
    SECURED DEBTOR-IN-POSSESSION FINANCING, (II) AUTHORIZING DEBTORS
   TO USE CASH COLLATERAL, (III) GRANTING ADEQUATE PROTECTION TO THE
            PRIMED PARTIES, AND (IV) GRANTING RELATED RELIEF

                   Upon the motion (“Motion”) filed by Gastar Exploration Inc. (“Gastar”) and its

   subsidiary Northwest Property Ventures LLC (“NPV”), as debtors and debtors in possession

   (collectively, the “Debtors”) in the above captioned chapter 11 cases (collectively, the “Chapter

   11 Cases”) requesting entry of an interim order (the “Interim Order”) and a final order (this

   “Final Order” and, together with the Interim Order, the “DIP Orders”) under sections 105, 361,

   362, 363(c), 363(e), 364(c), 364(d)(1), 364(e), and 507 of title 11 of the United States Code, 11

   U.S.C. §§101-1532 (as amended, the “Bankruptcy Code”), and Rules 2002, 4001, 6004, and

   9014 of the Federal Rules of Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and

   Rules 2002-1 and 4001-1(b), 4002-1(i), and 9013-1 of the Local Bankruptcy Rules for the

   Southern District of Texas (as amended, the “Bankruptcy Local Rules”), inter alia

   (a) authorizing the Debtors to enter into a secured superpriority debtor-in-possession financing



   1   The Debtors in these Chapter 11 Cases (as defined below), along with the last four digits of each Debtor’s
       federal tax identification number, include: Gastar Exploration Inc. (1640), and Northwest Property Ventures
       LLC (8685). The location of the Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas
       77010.



                                                         1
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   2 of
                                                                  2 of 53 53



   facility in the aggregate amount of no less than $383,851,332.61 (the “DIP Facility”) pursuant to

   and in accordance with the superpriority secured debtor-in-possession credit agreement in the

   form attached to the Interim Order as Exhibit 2 (as amended from time to time, the “DIP Credit

   Agreement”) with Gastar, as borrower (the “DIP Borrower”), NPV, as guarantor, Wilmington

   Trust, National Association, as administrative and collateral agent (the “DIP Agent”), and the

   lenders party thereto (the “DIP Lenders” and, together with the DIP Agent, the “DIP Secured

   Parties”), the other DIP Loan Documents (as defined below), the Budget (as defined below), and

   the DIP Orders, (b) authorizing the Debtors to use Cash Collateral (as defined below) as of the

   Petition Date pursuant to and in accordance with the Budget and the DIP Orders, (c) granting to

   the DIP Agent, for the benefit of the DIP Secured Parties, security interests in and liens on the

   DIP Collateral (as defined below) and a superpriority administrative expense claim, to the extent

   and as provided in the DIP Orders and the DIP Loan Documents, to secure the DIP Obligations

   (as defined below), (d) granting certain adequate protection to the Primed Parties and the Hedge

   Counterparties (as each is defined below), (e) scheduling a final hearing (the “Final Hearing”) to

   consider entry of this Final Order, and (f) granting related relief; and the Bankruptcy Court

   having found that the relief requested in the Motion is in the best interests of each of the Debtors,

   their estates, their creditors and other parties in interest; and the Bankruptcy Court having

   reviewed the Motion and having heard the statements in support of the relief requested therein at

   a hearing before the Bankruptcy Court on November 1, 2018 (the “Interim Hearing”); and the

   Bankruptcy Court having entered the Interim Order on November 2, 2018; and the Final Hearing

   on the relief requested in the Motion having taken place on November 28, 2018; and the

   Bankruptcy Court having determined that the legal and factual bases set forth in the Motion, the

   Declaration of Michael A. Gerlich, Chief Financial Officer of Gastar Exploration Inc., in




                                                    2
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   3 of
                                                                  3 of 53 53



   Support of Chapter 11 Petitions and First Day Motions, dated as of October 31, 2018, and the

   Declaration of Kevin M. Cofsky, Partner of Perella Weinberg Partners LP, in Support of

   Chapter 11 Petitions and First Day Motions, dated as of October 31, 2018, and articulated at the

   Interim Hearing and the Final Hearing adequately establish just cause for the relief granted

   herein; and upon all of the proceedings had before the Bankruptcy Court; and after due

   deliberation and sufficient cause appearing therefor, it is

   HEREBY FOUND AND CONCLUDED THAT:2

                  A.       Commencement of Chapter 11 Cases. On October 31, 2018 (the “Petition

   Date”), the Debtors commenced the Chapter 11 Cases in the United States Bankruptcy Court for

   the Southern District of Texas (the “Court” or the “Bankruptcy Court”). The Debtors are

   continuing to operate their respective businesses and manage their respective properties as

   debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No official

   committee of unsecured creditors (a “Committee”) has been appointed in the Chapter 11 Cases.

                  B.       Jurisdiction and Venue. The Bankruptcy Court has jurisdiction over the

   Chapter 11 Cases, the Motion, and the parties and property affected hereby, pursuant to 28

   U.S.C. §§ 157(b) and 1334 and the Amended Standing Order of Reference from the United States

   District Court for the Southern District of Texas, dated May 24, 2012. Consideration of the

   Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The Bankruptcy Court

   may enter a final order consistent with Article III of the United States Constitution. Venue of the

   Chapter 11 Cases in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The bases

   for the relief sought in the Motion and granted in this Final Order are sections 105, 361, 362,

   2      The findings and conclusions set forth herein constitute the Bankruptcy Court’s findings of fact and
          conclusions of law pursuant to Bankruptcy Rule 7052. To the extent any findings of fact constitute
          conclusions of law, they are adopted as such. To the extent any conclusions of law constitute findings of
          fact, they are adopted as such.



                                                         3
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   4 of
                                                                  4 of 53 53



   363(c), 363(e), 364(c), 364(d)(1), 364(e), and 507 of the Bankruptcy Code, Bankruptcy Rules

   2002, 4001, 6004, and 9014, and Bankruptcy Local Rules 4001-1(b), 4002-1(i), and 9013-1.

                    C.   Adequate Notice. On October 31, 2018, the Debtors filed the Motion with

   the Bankruptcy Court pursuant to Bankruptcy Rules 2002, 4001 and 9014, and provided notice

   of the Motion and the Interim Hearing by electronic mail, facsimile, hand delivery, or overnight

   delivery to the following parties and/or their respective counsel as indicated below: (a) the

   Office of the United States Trustee for the Southern District of Texas (the “U.S. Trustee”);

   (b) the entities listed on the Consolidated List of Creditors Holding the 20 Largest Unsecured

   Claims filed pursuant to Bankruptcy Rule 1007(d); (c) counsel to Wilmington Trust, National

   Association; (d) counsel to the Debtors’ proposed postpetition lenders and the lenders under the

   Debtors’ pre-petition financing facilities; (e) counsel to the Hedge Counterparties; (f) the United

   States Securities and Exchange Commission; (g) the Internal Revenue Service; and (h) all parties

   entitled to notice pursuant to Bankruptcy Local Rule 9013-1 (collectively, the “Notice Parties”).

                    D.   DIP Facility.    The DIP Facility is a secured superpriority financing

   facility, which shall be comprised of a term loan in the aggregate principal amount equal to

   $383,851,332.61 plus any accrued and unpaid interest on the Term Loans (as defined below),

   consisting of:

                         (i)     up to $100,000,000 of new money loans (the “New Money

   Loans”), of which (a) $15,000,000 was made available to the Debtors in one or more draws upon

   entry of the Interim Order, subject to satisfaction of the conditions precedent contained in the

   DIP Loan Documents, the Interim Order, and the Budget (the “Interim DIP Tranche”) and

   (b) $100,000,000 (the “Final DIP Amount”), minus the sum of (x) any amounts of New Money

   Loans previously drawn by the Debtors under the Interim DIP Tranche and (y) the aggregate




                                                   4
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   5 of
                                                                  5 of 53 53



   amount of New Money Loans, as of any applicable time determination, drawn by the Debtors

   under the Reserve DIP Tranche (defined below) shall be made available to the Debtors in one or

   more draws upon entry of this Final Order, subject to satisfaction of the conditions contained in

   the DIP Loan Documents, this Final Order, and the Budget (the “Final DIP Tranche”); and

                         (ii)    upon entry of this Final Order, term loans in an amount equal to

   $283,851,332.61 plus any accrued and unpaid interest on the Term Loans, the proceeds of which

   shall be used to refinance outstanding principal amount and accrued and unpaid interest under

   the Term Facility as of the Petition Date (the “Refinanced Loans” and, together with the New

   Money Loans, the “DIP Loans”).

                         (iii)   In addition, upon entry of this Final Order, and subject to the terms

   and conditions of the DIP Loan Documents, this Final Order and the Debtors having

   demonstrated to the reasonable satisfaction of the DIP Lenders, acting in good faith, the bona

   fide need of the Debtors for such additional liquidity to preserve lease operating rights in

   response to actions taken or proposed to be taken by third parties (the “Operating Rights

   Preservation Activities”), a portion of the New Money Loans in an amount equal to $100

   million, minus any amounts of New Money Loans previously drawn by the Debtors prior to such

   date under either the Interim DIP Tranche or the Final DIP Tranche (the “Reserve DIP Tranche”)

   shall be available to the Debtors to fund such Operating Rights Preservation Activities.

   Notwithstanding the foregoing or anything to the contrary in this Final Order, other than as

   necessary to fund the Carve Out Reserve Account, (a) draws under the Reserve DIP Tranche

   shall be limited to no more than one draw per week and (b) no draw under the Reserve DIP

   Tranche shall in any event exceed the amount actually needed by the DIP Borrower at the

   applicable time of determination (taking into account the DIP Borrower’s cash on hand at such




                                                   5
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   6 of
                                                                  6 of 53 53



   time) to fund Operating Rights Preservation Activities over the immediately succeeding

   Borrowing Cap Period (as defined in the DIP Loan Documents) in the amounts expressly

   approved by the DIP Lenders for such Borrowing Cap Period, net of (and without duplicating)

   any amounts previously drawn under the DIP Facility in respect of amounts so approved by the

   DIP Lenders for such Borrowing Cap Period. All DIP Loans and the other obligations under the

   DIP Loan Documents, including, without limitation, principal, interest, expenses, the DIP Fees

   (as defined below), and the other obligations due from time to time by the Debtors pursuant to

   the DIP Loan Documents shall be referred to as the “DIP Obligations.”

                  E.      Best Interests. Good cause has been shown for entry of this Final Order.

   The Debtors have a need to obtain up to $100,000,000 of the DIP Loans and access to the Cash

   Collateral (as defined below) to satisfy their liquidity requirements to preserve and operate their

   businesses and maintain business relationships with, and the confidence of, their vendors,

   suppliers, and customers. Therefore, approval of the DIP Facility and the use of Prepetition

   Collateral (as defined below), including Cash Collateral, in accordance with the DIP Orders and

   the DIP Loan Documents are, therefore, in the best interests of the Debtors’ estates and

   consistent with the Debtors’ exercise of their fiduciary duties. “Cash Collateral” shall have the

   meaning assigned to the term “cash collateral” under section 363(a) of the Bankruptcy Code and

   covers all “cash collateral” that constitutes Prepetition Collateral.

                  F.      Best Financing Available. The DIP Facility is the best source of debtor-

   in-possession financing available to the Debtors. The Debtors are unable to obtain (i) adequate

   unsecured credit allowable under either sections 364(b) and 503(b)(l) of the Bankruptcy Code or

   section 364(c)(l) of the Bankruptcy Code, (ii) adequate credit secured by a senior lien on

   unencumbered assets of their estates under section 364(c)(2) of the Bankruptcy Code,




                                                     6
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   7 of
                                                                  7 of 53 53



   (iii) adequate credit secured by a lien that is junior as to all the encumbered assets of their estates

   under section 364(c)(3) of the Bankruptcy Code, or (iv) secured credit under section 364(d)(l) of

   the Bankruptcy Code from sources other than the DIP Lenders on terms more favorable than the

   terms of the DIP Facility. The Primed Parties would not otherwise consent to the use of their

   Cash Collateral or the subordination of their liens to the DIP Liens (as defined below), and the

   DIP Lenders would not be willing to provide the DIP Facility or extend credit to the Debtors

   thereunder without the inclusion of the Refinanced Loans in the DIP Obligations. Moreover, the

   refinancing of certain Term Obligations into DIP Loans and the refinancing of Term Obligations

   in an amount equal to $283,851,332.61 plus any accrued and unpaid interest on the Term Loans

   into Refinanced Loans will enable the Debtors to obtain urgently needed financing that will

   allow them to fund a prepackaged reorganization process and emerge from these Chapter 11

   Cases as a going concern in a prompt and efficient manner.

                  G.      Terms of DIP Facility Are Fair and Reasonable. The DIP Lenders have

   indicated a willingness to provide the DIP Facility solely on the terms and conditions set forth in

   this Final Order and the DIP Loan Documents. The terms of the DIP Facility (including, but not

   limited to, the indemnification provisions set forth in the DIP Credit Agreement) are fair and

   reasonable and reflect each Debtor’s exercise of prudent business judgment consistent with its

   fiduciary duties, are the best available under the circumstances, and are supported by reasonably

   equivalent value and consideration.

                  H.      Arm’s Length and Good Faith Negotiation. The Debtors, the DIP Agent,

   the DIP Lenders, and the Primed Parties have negotiated the terms and conditions of the DIP

   Facility, the DIP Loan Documents, the Interim Order, and this Final Order in good faith and at

   arm’s length, and any credit extended and loans made to the Debtors pursuant to either the




                                                     7
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   8 of
                                                                  8 of 53 53



   Interim Order or this Final Order shall be, and hereby are, deemed to have been extended, issued,

   or made, as the case may be, in “good faith” within the meaning of section 364(e) of the

   Bankruptcy Code, and the DIP Agent, the DIP Lenders, and the Primed Parties shall be entitled

   to the full protection of section 364(e) of the Bankruptcy Code in the event the Final Order or

   any provision thereof is vacated, reversed, or modified, whether on appeal or otherwise. The

   Primed Parties have acted in good faith regarding the DIP Facility and the Debtors’ use of the

   Cash Collateral to fund the administration of the Debtors’ estates and continued operation of

   their businesses. The Hedge Counterparties have acted in good faith regarding the Debtors’ use

   of the Cash Collateral to fund the administration of the Debtors’ estates and continued operations

   of their businesses.

                  I.      The Prepetition Secured Facilities. Without prejudice to the rights of any

   other party and without the subparagraphs of this Paragraph I constituting findings of fact, conclusions

   of law or orders of the Court, the Debtors acknowledge, admit, represent, stipulate and agree that:

                          (i)     Term Loan Facility.

                                  (A)     Prior to the Petition Date, Wilmington Trust, National

   Association, as administrative agent and collateral agent (in such capacities, the “Term Agent”),

   and certain parties that are lenders under the Term Credit Agreement (as defined below) (the

   “Term Lenders” and, together with the Term Agent, the “Term Facility Secured Parties”) made

   loans and advances, and/or provided other financial accommodations (collectively, the “Term

   Loans”), to or for the benefit of certain of the Debtors, consisting of a term loan in the aggregate

   initial principal amount of $250,000,000 (the “Term Facility”) pursuant to (x) the Third

   Amended and Restated Credit Agreement, dated March 3, 2017 (as the same may have been

   amended, restated, supplemented, or other otherwise modified to date, the “Term Credit




                                                      8
Case 18-36057   Document
        Case 18-36057     199 Filed
                      Document      in TXSB
                               213 Filed      on on
                                         in TXSB 11/26/2018   Page
                                                    11/28/18 Page   9 of
                                                                  9 of 53 53



   Agreement”), by and among Gastar as borrower (the “Borrower”), the guarantor party thereto,

   the Term Agent and the Term Lenders, and (y) all other agreements, documents and instruments

   executed and/or delivered to or in favor of the Term Agent and/or the Term Lenders in

   connection with the Term Facility, including, without limitation, all security agreements, notes,

   guarantees, mortgages, Uniform Commercial Code financing statements, and all other related

   agreements, documents and instruments, including any fee letters, executed and/or delivered in

   connection therewith or related thereto (all the foregoing, together with the Term Credit

   Agreement, as all of the same have been supplemented, modified, extended, renewed, restated,

   and/or replaced at any time prior to the Petition Date, collectively, the “Term Loan Documents”).

   All “Obligations” (as defined in the Term Loan Documents) arising under the Term Loan

   Documents including, without limitation, all loans, advances, debts, liabilities, principal, accrued

   or hereafter accruing interest, fees, costs, charges, expenses (including any and all reasonable

   attorneys’, accountants’, appraisers’ and financial advisors’ fees and expenses that are

   chargeable, reimbursable or otherwise payable under the Term Loan Documents), of any kind or

   nature, whether or not evidenced by any note, agreement, or other instrument, whether or not

   contingent, whenever arising, accrued, accruing, due, owing, or chargeable in respect of any of

   the Debtors’ obligations under the Term Loan Documents shall hereinafter be referred to

   collectively as the “Term Obligations.”

                                 (B)     The Term Obligations are guaranteed by NPV (collectively

   with the Borrower, the “Term Obligors”).

                                 (C)     Pursuant to the Term Loan Documents, the Term

   Obligations are secured by (i) liens (the “Term Liens”) on substantially all of the assets of the




                                                    9
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 10 10  of 53
                                                                     of 53



   Borrower; and (ii) a pledge by Gastar of 100% of its equity interest in NPV (collectively, the

   “Term Facility Collateral”).

                         (ii)     Second Lien Notes.

                                  (A)    Prior to the Petition Date, Gastar issued certain secured

   convertible notes (the “Second Lien Notes”) issued in the aggregate initial principal amount of

   $125,000,000 and an additional amount of Second Lien Notes in the aggregate initial principal

   amount $75,000,000, each pursuant to (x) the Indenture dated March 3, 2017 (as the same may

   have been amended, restated, supplemented, or other otherwise modified to date, the “Second

   Lien Indenture”), by and between Gastar, as issuer, the guarantors party thereto, and Wilmington

   Trust, National Association, as trustee and collateral agent (the “Second Lien Trustee” and,

   collectively with the holders of the Second Lien Notes, the “Second Lien Secured Parties” and,

   collectively with the Term Facility Secured Parties, the “Primed Parties”), and (y) all other

   agreements, documents and instruments executed and/or delivered to or in favor of the Second

   Lien Trustee and/or the holders of the Second Lien Notes the (“Second Lien Noteholders”) in

   connection with the Second Lien Notes, including, without limitation, all security agreements,

   notes, guarantees, mortgages, Uniform Commercial Code financing statements, and all other

   related agreements, documents and instruments, including any fee letters, executed and/or

   delivered in connection therewith or related thereto (all the foregoing, together with the Second

   Lien Indenture, as all of the same have been supplemented, modified, extended, renewed,

   restated, and/or replaced at any time prior to the Petition Date, collectively, the “Second Lien

   Documents”).




                                                  10
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 11 11  of 53
                                                                     of 53



                                   (B)   The obligations of Gastar under the Second Lien Notes (the

   “Second Lien Obligations”) are guaranteed by NPV (together with Gastar, the “Second Lien

   Obligors”).

                                   (C)   The Second Lien Obligations are secured by second

   priority liens (the “Second Lien Notes Liens” and, together with the Term Liens, the “Primed

   Liens”) subordinate to the Term Liens and the Hedge Liens (as defined below), on substantially

   all of the assets of Gastar (as the same collateral securing the repayment of the Term Facility)

   (collectively, the “Second Lien Collateral” and, together with the Term Facility Collateral, the

   “Primed Collateral”).

                           (iii)   Secured Hedge Agreements.

                                   (A)   Prior to the Petition Date, Cargill, Incorporated (“Cargill”)

   and NextEra Energy Marketing, LLC (“Next Era” and together with Cargill, each, a “Hedge

   Counterparty” and collectively the “Hedge Counterparties”), entered into hedging arrangements

   with the Debtors pursuant to (x) the ISDA Master Agreement dated as of December 10, 2012,

   including the schedules, exhibits and annexes thereto and all confirmations now or hereafter

   entered into under such ISDA Master Agreement (as the same may have been amended, restated,

   supplemented, or other otherwise modified to date, the “Cargill ISDA”) between Gastar and

   Cargill, (y) the ISDA Master Agreement dated as of March 3, 2017, including the schedules,

   exhibits and annexes thereto and all confirmations now or hereafter entered into under such

   ISDA Master Agreement (as the same may have been amended, restated, supplemented, or other

   otherwise modified to date, the “NextEra ISDA” and, together with the Cargill ISDA, the

   “Secured Hedge Agreements”) between Gastar and NextEra, and (z) all other agreements,

   documents and instruments executed and/or delivered to or in favor of any Hedge Counterparty




                                                   11
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 12 12  of 53
                                                                     of 53



   in connection with any Secured Hedge Agreement, including, without limitation, all security

   agreements, notes, guarantees, mortgages, Uniform Commercial Code financing statements, and

   all other related agreements, documents and instruments, including any fee letters, executed

   and/or delivered in connection therewith or related thereto (all the foregoing, together with the

   Secured Hedge Agreements, as all of the same have been supplemented, modified, extended,

   renewed, restated, and/or replaced at any time prior to the Petition Date, collectively, the “Hedge

   Documents” and, collectively with the Term Loan Documents and the Second Lien Documents,

   the “Prepetition Documents”). All obligations arising under the Hedge Documents including,

   without limitation, all loans, advances, debts, liabilities, obligations, termination payments,

   principal, accrued or hereafter accruing interest, settlement payments, fees, costs, charges,

   expenses (including any and all reasonable attorneys’, accountants’, appraisers’ and financial

   advisors’ fees and expenses that are chargeable, reimbursable or otherwise payable under the

   Hedge Documents), of any kind or nature, whether or not evidenced by any note, agreement, or

   other instrument, whether or not contingent, whenever arising, accrued, accruing, due, owing, or

   chargeable in respect of any of the Debtors’ obligations under the Hedge Documents shall

   hereinafter be referred to collectively as the “Hedge Obligations.” For the avoidance of doubt,

   the Hedge Obligations shall include (in addition to their inclusion as Term Obligations) all fees,

   costs, expenses and indemnities owing to the Term Agent under the Hedge Documents

   (including, without limitation, under the Hedge Intercreditor Agreement (as defined below)).

                                 (B)     The Hedge Obligations are guaranteed by NPV (together

   with Gastar, the “Hedge Obligors”).

                                 (C)     Pursuant to the Hedge Documents, the Hedge Obligations

   are secured by liens (the “Hedge Liens” and, together with the Primed Liens, the “Prepetition




                                                   12
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 13 13  of 53
                                                                     of 53



   Liens”), which are equal in priority to the Term Liens, on the Term Facility Collateral

   (collectively, the “Hedge Collateral” and, together with the Primed Collateral, the “Prepetition

   Collateral”).

                           (iv)    Prepetition Intercreditor Agreements.

                           (A)     The Term Agent and the Second Lien Trustee are parties to an

   Intercreditor Agreement, dated as of March 3, 2017, pursuant to which the security interests and

   certain payment rights of the Second Lien Notes are subordinated to the Term Facility and the

   Hedge Obligations.

                           (B)     The Hedge Counterparties, the Debtors and the Term Agent are

   parties to an Intercreditor Agreement, dated as of March 3, 2017 (the “Hedge Intercreditor

   Agreement”) which governs the relationship of the liens and payment rights of the Hedge

   Counterparties and the Term Facility Secured Parties.

                           (v)     No Other Liens. As of the Petition Date, other than the security

   interests and liens expressly permitted under the Prepetition Documents, there were no security

   interests or liens on the Prepetition Collateral other than the Prepetition Liens.

                   J.      Debtors’ Stipulations. Without prejudice to the rights of any other party and

   without the subparagraphs of this Paragraph J constituting findings of fact, conclusions of law or orders

   of the Court, the Debtors acknowledge, admit, represent, stipulate and agree that:

                           (i)     Term Obligations Are Valid and Enforceable.                 The Term

   Obligations are (A) legal, valid, binding, and enforceable against the Term Obligors, each in

   accordance with its terms, and (B) not subject to any recoupment, rejection, avoidance,

   reductions, recharacterization, set-off, subordination (whether equitable, contractual or

   otherwise), counterclaims, cross-claims, disallowance, impairment, defenses, or any other




                                                      13
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 14 14  of 53
                                                                     of 53



   claims, causes of action, or challenges of any nature under the Bankruptcy Code, any other

   applicable law or regulation or otherwise by any person or entity. As of the Petition Date, the

   Debtors were truly and justly indebted and liable in respect of the Term Obligations, in an

   aggregate amount of not less than $283,851,332.61, inclusive of outstanding principal amounts,

   but exclusive of accrued but unpaid interest, accrued but uncapitalized interest, and other unpaid

   fees, charges, costs, and expenses, to the extent payable or otherwise to be calculated under the

   terms of the Term Loan Documents.

                         (ii)    Term Liens Are Valid and Enforceable.             The Term Liens

   (A) constitute valid, binding, enforceable, and properly perfected liens on the Term Facility

   Collateral that secure all the Term Obligations, and (B) are not subject to any attachment,

   recoupment, rejection, reductions, recharacterization, set-off or subordination (whether equitable,

   contractual, or otherwise) by any person or entity; and (C) were not otherwise subject to any

   liens, security interests, or other encumbrances other than liens expressly permitted under the

   Term Loan Documents.

                         (iii)   No Claims Against Term Facility Secured Parties. The Debtors

   have no valid claims (as such term is defined in section 101(5) of the Bankruptcy Code) or

   causes of action against the Term Facility Secured Parties with respect to the Term Loan

   Documents or the Term Obligations, whether arising at law or at equity, including, without

   limitation, any challenge, recharacterization, subordination, or other claims arising under or

   pursuant to sections 105, 510, 541, or 542 through 553 of the Bankruptcy Code.

                         (iv)    Second Lien Obligations Are Valid and Enforceable. The Second

   Lien Obligations are (A) legal, valid, binding, nonavoidable and enforceable against the Second

   Lien Obligors, each in accordance with its terms; and (B) not subject to any recoupment,




                                                   14
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 15 15  of 53
                                                                     of 53



   rejection, avoidance, reductions, recharacterization, set-off, subordination (whether equitable,

   contractual or otherwise), counterclaims, cross-claims, disallowance, impairment, defenses, or

   any other claims, causes of action, or challenges of any nature under the Bankruptcy Code, any

   other applicable law or regulation or otherwise by any person or entity. As of the Petition Date,

   the Debtors were truly and justly indebted and liable in respect of the Second Lien Obligations,

   in an aggregate amount of not less than $162,500,000.00, inclusive of outstanding principal

   amounts, but exclusive of accrued but unpaid interest, accrued but uncapitalized interest, and

   other unpaid fees, charges, costs, and expenses, to the extent payable or otherwise to be

   calculated under the terms of the Second Lien Documents.

                         (v)     Second Lien Notes Liens Are Valid and Enforceable. The Second

   Lien Notes Liens (A) constitute valid, binding, enforceable, and properly perfected liens on the

   Second Lien Collateral that secure all the Second Lien Obligations; (B) are not subject to any

   attachment, recoupment, rejection, reductions, recharacterization, set-off or subordination

   (whether equitable, contractual, or otherwise) by any person or entity; and (C) were not

   otherwise subject to any liens, security interests, or other encumbrances other than liens

   expressly permitted under the Second Lien Documents.

                         (vi)    No Claims Against Second Lien Secured Parties. The Debtors

   have no valid claims (as such term is defined in section 101(5) of the Bankruptcy Code) or

   causes of action against the Second Lien Secured Parties with respect to the Second Lien

   Documents or the Second Lien Obligations, whether arising at law or at equity, including,

   without limitation, any challenge, recharacterization, subordination, or other claims arising under

   or pursuant to sections 105, 510, 541, or 542 through 553 of the Bankruptcy Code.




                                                   15
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 16 16  of 53
                                                                     of 53



                          (vii)    Hedge Obligations Are Valid and Enforceable.           The Hedge

   Obligations are (A) legal, valid, binding, and enforceable against the Hedge Obligors, each in

   accordance with its terms, and (B) not subject to any recoupment, rejection, avoidance,

   reductions, recharacterization, set-off, subordination (whether equitable, contractual or

   otherwise), counterclaims, cross-claims, disallowance, impairment, defenses, or any other

   claims, causes of action, or challenges of any nature under the Bankruptcy Code, any other

   applicable law or regulation or otherwise by any person or entity. As of the Petition Date, the

   Debtors were truly and justly indebted and liable in respect of the Hedge Obligations, in an

   amount of approximately $6,301,949.00 with respect to Cargill, and in an amount of

   approximately $6,095,360.74 with respect to NextEra, in each case inclusive of outstanding

   principal amounts, accrued but unpaid interest, accrued but uncapitalized interest, and other

   unpaid fees, but exclusive of other unpaid fees, charges, costs, and expenses, to the extent

   payable or otherwise to be calculated under the terms of the Hedge Documents.

                          (viii)   Hedge Liens Are Valid and Enforceable.          The Hedge Liens

   (A) constitute valid, binding, enforceable, and properly perfected liens on the Hedge Collateral

   that secure all the Hedge Obligations, and (B) are not subject to any attachment, recoupment,

   rejection, reductions, recharacterization, set-off or subordination (whether equitable, contractual,

   or otherwise) by any person or entity; and (C) were not otherwise subject to any liens, security

   interests, or other encumbrances other than liens expressly permitted under the Hedge

   Documents.

                          (ix)     No Claims Against Hedge Counterparties. The Debtors have no

   valid claims (as such term is defined in section 101(5) of the Bankruptcy Code) or causes of

   action against the Hedge Counterparties with respect to the Hedge Documents or the Hedge




                                                   16
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 17 17  of 53
                                                                     of 53



   Obligations, whether arising at law or at equity, including, without limitation, any challenge,

   recharacterization, subordination, or other claims arising under or pursuant to sections 105, 510,

   541, or 542 through 553 of the Bankruptcy Code.

                          (x)     Intercompany Loans. The proceeds of the DIP Loans shall not be

   loaned or advanced to, or invested in (in each case, directly or indirectly), any entity that is not a

   DIP Guarantor (as defined below); the proceeds of the DIP Facility loaned or advanced to, or

   invested in, a DIP Guarantor shall be evidenced by an intercompany note, in form and substance

   reasonably satisfactory to the DIP Lenders, for the full amount of the proceeds so loaned,

   advanced, or invested; such intercompany note shall be pledged to the DIP Agent, for the benefit

   of the DIP Secured Parties, to secure the DIP Obligations; and all intercompany liens of the

   Debtors and the DIP Guarantors, if any, will be contractually subordinated to the liens securing

   the DIP Facility and to the Adequate Protection Liens (as defined below) on terms satisfactory to

   the DIP Lenders.

                  K.      Adequate Protection.

                          (i)     The Term Facility Secured Parties and the Second Lien Secured

   Parties shall be entitled to adequate protection of their interests in the Primed Collateral

   (including the Cash Collateral), and the Hedge Counterparties shall be entitled to adequate

   protection of their interests in the Hedge Collateral (including the Cash Collateral), as set forth in

   Paragraphs 13, 14, and 15 below, respectively, in an amount equal to the aggregate diminution in

   value (if any) of the Primed Collateral or the Hedge Collateral, as applicable, resulting from the

   sale, lease, or use by the Debtors of the Primed Collateral or Hedge Collateral, as applicable,

   (including the Cash Collateral), and/or the imposition of the automatic stay pursuant to section

   362 of the Bankruptcy Code (such diminution, the “Adequate Protection Obligations”).




                                                    17
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 18 18  of 53
                                                                     of 53



                         (ii)    The terms of the Adequate Protection (as defined below) are fair

   and reasonable, reflect the Debtors’ prudent exercise of business judgment, and are sufficient to

   allow the Debtors’ use of the Prepetition Collateral (including the Cash Collateral) and to permit

   the DIP Liens and the DIP Superpriority Claims to prime the Primed Liens on the Primed

   Collateral, but not, for avoidance of doubt, the Hedge Liens on the Hedge Collateral.

                  L.     Parties’ Consent.

                         (i)     Primed Parties’ Consent.     The Primed Parties consent to the

   adequate protection and the priming provided for herein; provided, however, that such consent to

   the priming, the use of Cash Collateral, and the sufficiency of the adequate protection provided

   for herein is expressly conditioned upon the entry of this Final Order (in form and substance

   satisfactory to them) relating to the DIP Facility as set forth herein (and as provided by the DIP

   Lenders as set forth herein) and such consent shall not be deemed to extend to any other

   replacement financing or debtor-in-possession financing other than the DIP Loans provided

   under the terms of the DIP Loan Documents and the DIP Orders; and provided, further, that such

   consent shall be of no force and effect in the event this Final Order is not entered and the DIP

   Loan Documents and DIP Loans as set forth herein are not approved.

                         (ii)    Hedge Counterparties’ Consent.        The Hedge Counterparties

   consent to the use of Cash Collateral and the adequate protection provided for herein; provided,

   however, that such consent to the use of Cash Collateral, and the sufficiency of the adequate

   protection provided for herein is expressly conditioned upon the entry of this Final Order (in

   form and substance reasonably satisfactory to them) relating to the DIP Facility as set forth

   herein (and as provided by the DIP Lenders as set forth herein) and such consent shall not be

   deemed to extend to any other replacement financing or debtor-in-possession financing other




                                                  18
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 19 19  of 53
                                                                     of 53



   than the DIP Loans provided under the terms of the DIP Loan Documents and the DIP Orders;

   and provided, further, that such consent shall be of no force and effect in the event this Final

   Order is not entered and the DIP Loan Documents and DIP Loans as set forth herein are not

   approved.

                  M.      Independence. None of the Primed Parties, Hedge Counterparties, or the

   DIP Lenders control the Debtors or their properties or operations, have authority to determine the

   manner in which any Debtors’ operations are conducted or are control persons or insiders of the

   Debtors by virtue of any of the actions taken with respect to, in connection with, related to or

   arising from the Prepetition Documents or DIP Loan Documents.

                  N.      Order of the Bankruptcy Court.       Based upon the foregoing findings,

   acknowledgements, and conclusions, and upon the record made before the Bankruptcy Court at

   the Interim Hearing and the Final Hearing, and good and sufficient cause appearing therefor:

                  IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

                  1.      Motion Granted. The Motion is granted on a final basis, as set forth in this

   Final Order. Any objections to the Motion that have not previously been resolved or withdrawn

   are hereby overruled. This Final Order shall immediately become effective upon its entry. To

   the extent that the terms of any of the DIP Loan Documents differ from the terms of this Final

   Order, this Final Order shall control.

                  2.      Authority to Perform Under DIP Facility.

                          (a)     The Debtors’ execution and delivery of, and continued

   performance under, the DIP Facility is hereby approved on a final basis. The Debtors are also

   authorized on a final basis to continue to enter into such additional documents, instruments, and

   agreements delivered or executed from time to time in connection with the DIP Facility (such




                                                   19
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 20 20  of 53
                                                                     of 53



   agreements, together with the DIP Credit Agreement and the DIP Orders, the “DIP Loan

   Documents”). The DIP Facility Agreements shall include guarantees from NPV and any other

   subsidiary that is required to provide a guarantee pursuant to the DIP Loan Documents

   (collectively, the “DIP Guarantors”).

                         (b)     To the extent not specifically provided in this Final Order, the

   Debtors are authorized to incur and perform the obligations arising under, and to otherwise

   comply with, the DIP Loan Documents and the Final Order.

                         (c)     Following the execution of such documents (regardless of whether

   it was actual execution or deemed execution provided under the Interim Order or this Final

   Order), each of the DIP Loan Documents shall constitute valid and binding agreements,

   enforceable against each Debtor that is party thereto, in accordance with the terms of the DIP

   Loan Documents.

                  3.     Authority to Borrow and Use of Funds.

                         (a)     The Debtors are hereby authorized, on a final basis, to borrow DIP

   Loans in an amount not to exceed the Final DIP Amount, pursuant to the terms of this Final

   Order and the other DIP Loan Documents.

                         (b)     The Debtors are hereby authorized to use the Final DIP Tranche

   and the Cash Collateral pursuant to the DIP Credit Agreement and this Final Order, and in

   accordance with the 13-week budget delivered by the Debtors to the DIP Agent pursuant to the

   DIP Credit Agreement, including any variances to the line items contained in such budget that

   are permitted under the DIP Credit Agreement (as the same may be amended, supplemented,

   and/or updated in accordance with the DIP Credit Agreement, the “Budget”), provided that

   payments of prepetition obligations shall be made only as authorized in other orders entered by




                                                  20
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 21 21  of 53
                                                                     of 53



   the Bankruptcy Court. An initial Budget was annexed to the Interim Order as Exhibit 1. Within

   five (5) business days of delivery of the Budget to the DIP Agent, the Debtors shall deliver a

   copy of such Budget to the U.S. Trustee.

                  4.     Limitation on Use of Funds.

                         (a)     Notwithstanding anything herein to the contrary, no proceeds of

   the DIP Loans, the DIP Collateral, the Prepetition Collateral, or any portion of the Carve Out

   may be used for the payment of (i) the fees and expenses of any person incurred in (A) the

   initiation or prosecution of any claims, causes of action, adversary proceedings, or other

   litigation against any DIP Secured Party, Term Facility Secured Party, Hedge Counterparty or

   Second Lien Secured Party for the purpose of challenging the amount, validity, extent,

   perfection, priority, characterization, or enforceability of or asserting any defense, counterclaim

   or offset to the DIP Obligations, the DIP Liens, the DIP Superpriority Claims, the Term

   Obligations, the Term Liens, the Hedge Obligations, the Hedge Liens, the Term Administrative

   Expense Claim, the Second Lien Obligations, the Second Lien Notes Liens, the Second Lien

   Administrative Expense Claim, and the Adequate Protection Liens; or (B) asserting any other

   claims, causes of action, adversary proceeding, or other litigation or actions (including, without

   limitation, any Avoidance Actions (as defined below)) against any DIP Secured Party, Term

   Facility Secured Party, Hedge Counterparty or Second Lien Secured Party that would hinder or

   delay the assertion, enforcement, or realization on the DIP Collateral or the Cash Collateral in

   accordance with the DIP Loan Documents, the Term Loan Documents, the Hedge Documents,

   the Second Lien Documents, or this Final Order; or (ii) any other purposes not expressly

   permitted under the DIP Loan Documents.




                                                   21
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 22 22  of 53
                                                                     of 53



                         (b)     Notwithstanding the foregoing, subject to entry of this Final Order,

   up to $25,000 in the aggregate proceeds of the DIP Loans, the DIP Collateral, the Prepetition

   Collateral, and/or the Carve Out may be used to pay fees and expenses of the professionals

   retained by any Committee that are incurred in connection with investigating the matters covered

   by the stipulations contained in Paragraph J of this Final Order; provided, however that no

   portion of such amount may be used by a Committee or any other party to prosecute or support

   any claims or challenges.

                         (c)     Notwithstanding anything herein to the contrary, so long as this

   Final Order is entered by the Bankruptcy Court within 30 days after the Petition Date, no

   proceeds of the DIP Loans or the DIP Collateral may be used for the payment of the fees and

   expenses of any professional retained (or to be retained) in these Chapter 11 Cases, other than

   the fees and expenses of the DIP Agent and DIP Lenders, during the period between entry of this

   Final Order and entry of this Final Order. Nothing in this paragraph 4(c) shall alter or otherwise

   impair the Carve Out as set forth in paragraph 11.

                  5.           DIP Fees. Subject to the same procedures set forth in Paragraph 13

   below with respect to professionals retained by the Term Facility Secured Parties, the Debtors

   are hereby authorized and directed to pay all fees, expenses, and other amounts payable under

   the DIP Loan Documents, including, without limitation, all recording fees, fees and expenses

   (whether incurred prepetition or postpetition) of the DIP Agent’s counsel and the DIP Lenders’

   counsel (and such other special counsel, financial advisors, and other consultants as are retained

   by the DIP Agent and the DIP Lenders), and all of the other fees (including, but not limited to,

   the Make-Whole Amount (as defined and calculated in the DIP Credit Agreement)) and all out-

   of-pocket costs and expenses of the DIP Secured Parties (all the foregoing, the “DIP Fees”), at




                                                  22
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 23 23  of 53
                                                                     of 53



   such times as they are earned and due under, and otherwise in accordance with the terms of, the

   DIP Loan Documents. None of such costs, fees, and expenses shall be subject to Bankruptcy

   Court approval or U.S. Trustee guidelines, and no recipient of any such payment shall be

   required to file with respect thereto any interim or final fee application with the Bankruptcy

   Court. All DIP Fees shall constitute DIP Obligations and the repayment thereof shall be secured

   by the DIP Collateral and afforded all of the priorities and protections afforded to the DIP

   Obligations under this Final Order and the DIP Loan Documents. Any DIP Fees outstanding at

   the time of a draw shall be paid concurrently with any funding of a DIP Loan based on such a

   draw request. The indemnification provisions in the DIP Credit Agreement are hereby approved.

   For the avoidance of doubt, the upfront fee and yield enhancement fees set forth in section 2.12

   of the DIP Credit Agreement shall only be payable as a percentage of the New Money

   Commitments (as defined in the DIP Credit Agreement) and shall not be payable on any amount

   of the Refinanced Loans.

                  6.     Refinanced Loans. The refinancing of outstanding Term Obligations in an

   amount equal to $283,851,332.61 plus any accrued and unpaid interest on the Term Loans shall

   be authorized as compensation for, in consideration for, and solely on account of, the agreement

   of the Primed Parties to fund amounts under the DIP Facility and not as payments under,

   adequate protection for, or otherwise on account of, any Term Obligations or Second Lien

   Obligations.   Notwithstanding any other provision of this Final Order or the DIP Loan

   Documents, all rights of the Primed Parties shall be fully preserved.

                  7.     DIP Obligations. The DIP Obligations are (a) legal, valid, binding, and

   enforceable against the Debtors, each in accordance with its terms, (b) not subject to any

   recoupment, rejection, avoidance, reductions, recharacterization, set-off, subordination (whether




                                                   23
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 24 24  of 53
                                                                     of 53



   equitable, contractual, or otherwise), counterclaims, cross-claims, defenses, or any other claims,

   causes of action, or challenges of any nature under the Bankruptcy Code, any other applicable

   law or regulation or otherwise, and (c) shall constitute “allowed claims” within the meaning of

   section 502 of the Bankruptcy Code. For the avoidance of doubt, the DIP Obligations shall not

   include the Refinanced Loans until entry of this Final Order in accordance with paragraph 7.

                  8.     DIP Make-Whole Amount.          The Make-Whole Amount, as and when

   incurred in accordance with the DIP Credit Agreement (a) is a legal, valid, binding, and

   enforceable obligation against the Debtors and (b) is not subject to any recoupment, rejection,

   avoidance, reductions, recharacterization, set-off, subordination (whether equitable, contractual,

   or otherwise), counterclaims, cross-claims, defenses, or any other claims, causes of action, or

   challenges of any nature under the Bankruptcy Code, any other applicable law or regulation or

   otherwise.

                  9.     DIP Superpriority Claims. Pursuant to sections 364(c)(1), 503, and 507 of

   the Bankruptcy Code, all of the DIP Obligations shall constitute allowed superpriority

   administrative expense claims against each of the Debtors (the “DIP Superpriority Claims”) with

   priority over any and all administrative expenses of the Debtors (including administrative

   expenses constituting Adequate Protection), whether heretofore or hereafter incurred, subject and

   subordinate only to the Hedge Obligations, any indebtedness secured by Permitted

   Encumbrances (as such term shall be defined under the DIP Loan Documents) and the Carve

   Out. To the extent such claims are not otherwise sold pursuant to section 363 or 1129 of the

   Bankruptcy Code, the DIP Superpriority Claims may be paid out of the proceeds or property

   recovered, unencumbered or otherwise the subject of successful claims and causes of action

   under Chapter 5 of the Bankruptcy Code and similar laws, whether by judgment, settlement, or




                                                  24
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 25 25  of 53
                                                                     of 53



   otherwise (collectively, the “Avoidance Actions” and any proceeds thereof and property received

   thereby, the “Avoidance Action Proceeds”).

                  10.         DIP Liens. As security for the repayment of the DIP Obligations,

   pursuant to sections 364(c)(2), (c)(3), and (d) of the Bankruptcy Code, the DIP Agent, on behalf

   of the DIP Secured Parties, is hereby granted:         (i) pursuant to section 364(c)(2) of the

   Bankruptcy Code, a first priority security interest and lien on all tangible and intangible

   unencumbered assets of the Debtors now owned or hereafter acquired (including the Avoidance

   Actions and the Avoidance Action Proceeds); (ii) pursuant to section 364(d) of the Bankruptcy

   Code, a senior security interest and lien with respect to the Primed Collateral (but, for the

   avoidance of doubt, subordinate to the Hedge Liens on the Primed Collateral); and (iii) pursuant

   to section 364(c)(3) of the Bankruptcy Code, a junior security interest and lien on any other

   tangible or intangible encumbered assets of the Debtors now owned or hereafter acquired,

   including, to the extent that such assets are subject to valid, perfected and unavoidable Permitted

   Encumbrances in favor of third parties that were in existence immediately prior to the Petition

   Date, or valid and unavoidable Permitted Encumbrances in favor of third parties that were in

   existence immediately prior to the Petition Date that were perfected subsequent to the Petition

   Date as permitted by Section 546(b) of the Bankruptcy Code (the liens and security interests

   identified in subsections (i)-(iii) with respect to the DIP Obligations, collectively, the “DIP

   Liens” and the collateral with respect to which such DIP Liens attach, collectively, the “DIP

   Collateral”). Other than as set forth above, the DIP Liens shall be subject and subordinate only

   to the Hedge Liens, and the Carve Out. For the avoidance of doubt, the DIP Liens shall not

   extend to (i) Excluded Contracts (as such term is defined in the DIP Loan Documents), (ii) any

   United States intent-to-use trademark application until such time, if any, as a statement of use or




                                                   25
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 26 26  of 53
                                                                     of 53



   an amendment to allege use is filed with an accepted by the United States Patent and Trademark

   Office, or (iii) to the extent not covered by clauses (i) or (ii), the Excluded Collateral as defined

   in the DIP Loan Documents. Notwithstanding the foregoing, the liens granted pursuant to this

   order shall not prime the claims secured by statutory mechanic’s or construction liens of

   Schlumberger Technology Corporation. Such statutory lien claims of Schlumberger Technology

   Corporation are Permitted Encumbrances.

                          (a)     Upon entry of this Final Order, whether or not the DIP Secured

   Parties take any action to validate, perfect, or confirm perfection, the DIP Liens shall be deemed

   valid, perfected, allowed, enforceable, nonavoidable, and not subject to challenge, dispute,

   avoidance, impairment, or subordination (other than with respect to the Permitted Encumbrances,

   the Hedge Liens or Carve Out or as set forth in this Final Order), at the time and as of the date of

   entry of this Final Order.

                          (b)     The DIP Secured Parties are hereby authorized, but not required, to

   file or record, in any jurisdiction, financing statements, intellectual property filings, mortgages,

   deeds of trust, notices of lien or similar instruments, or take any other action in order to validate

   and perfect the DIP Liens. Upon the request of the DIP Agent, the Debtors, without any further

   consent of any party, are authorized and directed to take, execute, and deliver such instruments

   (in each case without representation or warranty of any kind except as set forth in the DIP Loan

   Documents) to enable the DIP Agent or DIP Lenders to validate, perfect, preserve, and enforce

   the DIP Liens consistent with the terms of this Final Order. A certified copy of this Final Order

   may be filed with or recorded in filing or recording offices in addition to or in lieu of such

   financing statements, mortgages, deeds of trust, notices of lien or similar instruments, and all




                                                    26
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 27 27  of 53
                                                                     of 53



   filing offices are hereby authorized to accept such certified copy of this Final Order for filing and

   recording.

                          (c)     The Debtors are authorized and directed to, as soon as reasonably

   practicable following entry of this Final Order, add the DIP Secured Parties as additional

   insureds and loss payees on each insurance policy maintained by the Debtors which in any way

   relates to the DIP Collateral and shall, subject to the terms of this Final Order, distribute any

   proceeds recovered or received in accordance with the terms of this Final Order and the other

   DIP Loan Documents.

                          (d)     So long as any of the DIP Obligations remain outstanding and have

   not been indefeasibly paid in full in cash:

                                  (i)     the Debtors shall not sell, transfer, lease, encumber, or

   otherwise dispose of any portion of the DIP Collateral, except as permitted by this Final Order,

   the DIP Loan Documents, as applicable, or as otherwise authorized by the Bankruptcy Court.

   Subject to the Hedge Obligations, all proceeds of DIP Collateral, shall be applied to the DIP

   Obligations and paid to the DIP Lenders in accordance with this Final Order and the DIP Loan

   Documents;

                          (ii)    other than Indebtedness (as defined in the DIP Credit Agreement)

   expressly permitted under the DIP Loan Documents or Permitted Encumbrances (as defined in

   the DIP Loan Documents), the consent of the Majority DIP Lenders (such term as used herein

   having the meaning assigned to the term “Majority Lenders” in the DIP Loan Documents) in

   their sole discretion is required for any debt (including any guaranty or refinancing) to be

   incurred or lien to be granted by any Debtor;




                                                    27
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 28 28  of 53
                                                                     of 53



                                  (iii)   without the Majority DIP Lenders’ consent (which may be

   withheld in their sole discretion), the Debtors shall not propose, file, consent to, cooperate with,

   solicit votes with respect to, acquiesce to, or support any chapter 11 plan or debtor in possession

   financing unless (A) such plan or financing would, on the date of its effectiveness, pay in full in

   cash all DIP Obligations, all Term Obligations and all Second Lien Obligations or (B) such plan

   is an Acceptable Plan (as defined in the DIP Loan Documents); and

                                  (iv)    the Debtors shall not directly or indirectly take any action

   that is inconsistent with, or that would unreasonably delay or impede approval of the DIP

   Facility or the DIP Loan Documents, which actions include, without limitation, directly or

   indirectly soliciting, encouraging, initiating, joining, and/or supporting any offer or proposal

   from, entering into any agreement with, and/or engaging in any discussions or negotiations with,

   any person concerning any actual or proposed transaction involving any or all of (A) a financial

   and/or corporate restructuring of any Debtor not supported by the Majority DIP Lenders, (B)

   another debtor-in-possession financing facility (other than a financing that pays the DIP

   Obligations, the Term Obligations and the Second Lien Obligations in full in cash), (C) the

   issuance, sale, or other disposition of any equity or debt interests, or any material assets, of any

   Debtor, or (D) a merger, consolidation, business combination, liquidation, recapitalization,

   refinancing, sale of substantially all assets, or similar transaction involving any Debtor.

          (e)     Notwithstanding anything to the contrary in this Order, the documents and

   instruments memorializing the prepetition Term Liens (including, but not limited to, all

   mortgages, deeds of trusts, leasehold mortgages, leasehold deeds of trusts, financing statements,

   fixture filings and any other security interests), are hereby deemed amended and restated

   (without the need for any further action by the Debtors, the DIP Agent, the DIP Lenders, or the




                                                    28
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 29 29  of 53
                                                                     of 53



   Term Facility Secured Parties or the Second Lien Secured Parties) to grant a lien and security

   interest in favor of the DIP Agent, for the benefit of itself and the DIP Lenders, on all of the

   Prepetition Collateral to secure the DIP Obligations. The DIP Liens on the Prepetition Collateral

   shall be deemed a continuation and extension of the Term Liens on the Prepetition Collateral,

   provided, that, the DIP Liens on the Prepetition Collateral shall be senior to, and remain separate

   from, (a) the Term Liens (to the extent there are any remaining Term Loan Obligations after the

   Term Loan Refinancing) and (b) the Second Lien Notes Liens on the Prepetition Collateral.

                  11.     Carve Out.

                          (a)     Carve Out. As used in this Final Order, the “Carve Out” means

   the sum of (i) all fees required to be paid to the Clerk of the Court and to the Office of the United

   States Trustee under section 1930(a) of title 28 of the United States Code plus interest at the

   statutory rate (without regard to the notice set forth in (iii) below); (ii) all reasonable fees and

   expenses up to $50,000 incurred by a trustee under section 726(b) of the Bankruptcy Code

   (without regard to the notice set forth in (iii) below); (iii) to the extent allowed at any time,

   whether by interim order, procedural order, or otherwise all unpaid fees and expenses (the

   “Allowed Professional Fees”) incurred by persons or firms retained by the Debtors pursuant to

   section 327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and the

   Committee (if any) pursuant to section 328 or 1103 of the Bankruptcy Code (the “Committee

   Professionals” and, together with the Debtor Professionals, the “Professional Persons”) at any

   time before or on the first business day following delivery by the DIP Agent or the Majority DIP

   Lenders of a Carve Out Trigger Notice (as defined below), whether allowed by the Court prior to

   or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees of

   Professional Persons in an aggregate amount not to exceed $350,000 incurred after the first




                                                    29
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 30 30  of 53
                                                                     of 53



   business day following delivery by the DIP Agent or the Majority DIP Lenders of the Carve Out

   Trigger Notice, to the extent allowed at any time, whether by interim order, procedural order, or

   otherwise (the amounts set forth in this clause (iv) being the “Post-Carve Out Trigger Notice

   Cap”). For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a written notice

   delivered by email (or other electronic means) by the DIP Agent or the Majority DIP Lenders (or

   by counsel to either of the foregoing) to the Debtors, their lead restructuring counsel, the U.S.

   Trustee, and counsel to the Committee (if any), which notice may be delivered following the

   occurrence and during the continuation of an Event of Default and acceleration of the DIP

   Obligations under the DIP Facility, stating that the Post-Carve Out Trigger Notice Cap has been

   invoked.

                 (b)     Carve Out Reserves.

                         (i)    On the day on which a Carve Out Trigger Notice is delivered to the

   Debtors by the DIP Agent (at the direction of the Majority DIP Lenders) or the Majority DIP

   Lenders (or by counsel to either of the foregoing) as set forth herein (the “Termination

   Declaration Date”), the Carve Out Trigger Notice shall (A) be deemed a draw request and notice

   of borrowing by the Debtors for New Money Loans under the Final DIP Tranche (each, as

   defined in the DIP Loan Documents) (on a pro rata basis based on the then outstanding DIP

   Loans), in an amount equal to the then unpaid amounts of the Allowed Professional Fees (any

   such amounts actually advanced shall constitute DIP Loans) and (B) also constitute a demand to

   the Debtors to utilize all cash on hand as of such date and any available cash thereafter held by

   any Debtor to fund a reserve in an amount equal to the then unpaid amounts of the Allowed

   Professional Fees. The Debtors shall deposit and hold such amounts in a segregated account of




                                                  30
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 31 31  of 53
                                                                     of 53



   Gastar (the “Carve Out Reserve Account”) to pay such then unpaid Allowed Professional Fees

   (the “Pre-Carve Out Trigger Notice Reserve”) prior to any and all other claims.

                         (i)    On the Termination Declaration Date, the Carve Out Trigger

   Notice shall also (A) be deemed a request by the Debtors for New Money Loans under the Final

   DIP Tranche (on a pro rata basis based on the then outstanding DIP Loans), in an amount equal

   to the Post-Carve Out Trigger Notice Cap (any such amounts actually advanced shall constitute

   DIP Loans) and (B) constitute a demand to the Debtors to utilize all cash on hand as of such date

   and any available cash thereafter held by any Debtor, after funding the Pre-Carve Out Trigger

   Notice Reserve, to fund a reserve in an amount equal to the Post-Carve Out Trigger Notice Cap.

   The Debtors shall deposit and hold such amounts in the Carve Out Reserve Account to pay such

   Allowed Professional Fees benefiting from the Post-Carve Out Trigger Notice Cap (the

   “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice

   Reserve, the “Carve Out Reserves”) prior to any and all other claims. On the first business day

   after the DIP Agent or the Majority DIP Lenders deliver a Carve Out Trigger Notice,

   notwithstanding anything in the DIP Loan Documents to the contrary, including with respect to

   the existence of a Default (as defined in the DIP Loan Documents) or Event of Default, the

   failure of the Debtors to satisfy any or all of the conditions precedent for borrowing of the New

   Money Loans under the Final DIP Tranche under the DIP Facility, any termination of the DIP

   Facility following an Event of Default, or the occurrence of the Maturity Date (as defined in the

   DIP Credit Agreement), each DIP Lender (on a pro rata basis based on the then outstanding DIP

   Loans) shall make available to the DIP Agent for disbursement to the Carve Out Reserve

   Account designated to the DIP Agent such DIP Lender’s pro rata share with respect to such

   borrowing in accordance with the DIP Loan Documents. All funds in the Pre-Carve Out Trigger




                                                  31
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 32 32  of 53
                                                                     of 53



   Notice Reserve shall be used first to pay the obligations set forth in clauses (i) through (iii) of the

   definition of Carve Out set forth above (the “Pre-Carve Out Amounts”), but not, for the

   avoidance of doubt, the Post-Carve Out Trigger Notice Cap, until paid in full, and then, to the

   extent the Pre-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay first, the

   Hedge Obligations, and then the DIP Agent for the benefit of the DIP Secured Parties, unless the

   DIP Obligations have been indefeasibly paid in full, in cash, and all DIP Loans have been

   terminated, in which case any such excess shall be paid to the holders of Term Obligations and

   Second Lien Obligations in accordance with their rights and priorities as of the Petition Date.

   All funds in the Post-Carve Out Trigger Notice Reserve shall be used first to pay the obligations

   set forth in clause (iv) of the definition of Carve Out set forth above (the “Post-Carve Out

   Amounts”), and then, to the extent the Post-Carve Out Trigger Notice Reserve has not been

   reduced to zero, to pay first, the Hedge Obligations, and then the DIP Agent for the benefit of the

   DIP Secured Parties, unless the DIP Obligations have been indefeasibly paid in full, in cash, and

   all DIP Loans have been terminated, in which case any such excess shall be paid to the holders

   of Term Obligations and Second Lien Obligations in accordance with their rights and priorities

   as of the Petition Date. Notwithstanding anything to the contrary in the DIP Loan Documents, or

   this Final Order, if either of the Carve Out Reserves is not funded in full in the amounts set forth

   in this Paragraph 11, then, any excess funds in either of the Carve Out Reserves following the

   payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be

   used to fund the other Carve Out Reserve, up to the applicable amount set forth in this Paragraph

   11, prior to making any payments to the DIP Agent or the holders of Hedge Obligations, Term

   Obligations, and Second Lien Obligations, as applicable. Notwithstanding anything to the

   contrary in the DIP Loan Documents or this Final Order, following delivery of a Carve Out




                                                     32
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 33 33  of 53
                                                                     of 53



   Trigger Notice, the DIP Agent, the Term Agent, and the Second Lien Trustee shall not sweep or

   foreclose on cash (including cash received as a result of the sale or other disposition of any

   assets) of the Debtors until the Carve Out Reserves have been fully funded, but shall have a

   security interest in any residual interest in the Carve Out Reserves, with any excess paid to the

   DIP Agent for application in accordance with the DIP Loan Documents.                       Further,

   notwithstanding anything to the contrary in this Final Order, (i) disbursements by the Debtors

   from the Carve Out Reserves shall not constitute DIP Loans (as defined in the DIP Loan

   Documents) or increase or reduce the DIP Obligations, (ii) the failure of the Carve Out Reserves

   to satisfy in full the Allowed Professional Fees shall not affect the priority of the Carve Out, and

   (iii) in no way shall the Budget, Carve Out, Post-Carve Out Trigger Notice Cap, Carve Out

   Reserves, or any of the foregoing be construed as a cap or limitation on the amount of the

   Allowed Professional Fees due and payable by the Debtors. For the avoidance of doubt and

   notwithstanding anything to the contrary in this Interim Order, the DIP Facility, or in the Term

   Facility or Second Lien Notes, the Carve Out shall be senior to all liens and claims securing the

   DIP Facility, the Term Facility Adequate Protection Claims, the Second Lien Adequate

   Protection Claims, the Hedge Obligations, and any and all other forms of adequate protection,

   liens, or claims securing the DIP Obligations, the Term Obligations, or the Second Lien

   Obligations. To the extent of any conflict between the terms or provisions of any Prepetition

   Document (including, without limitation, the Hedge Intercreditor Agreement) and this Final

   Order, the terms and provisions of this Final Order shall govern, and the DIP Agent and Term

   Agent shall not have any liability to any DIP Lender, Term Lender or Hedge Counterparty for

   any actions taken (or not taken) by the DIP Agent or the Term Agent, as applicable, in

   accordance with this Final Order.




                                                   33
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 34 34  of 53
                                                                     of 53



                 (c)     Payment of Allowed Professional Fees Prior to the Termination

   Declaration Date. Any payment or reimbursement made prior to the occurrence of the

   Termination Declaration Date in respect of any Allowed Professional Fees shall not reduce the

   Carve Out.

                 (d)     No Direct Obligation To Pay Allowed Professional Fees. None of the DIP

   Agent, DIP Lenders, Term Lenders, the Hedge Counterparties, the holders of Second Lien Notes,

   the Term Agent, or the Second Lien Trustee shall be responsible for the payment or

   reimbursement of any fees or disbursements of any Professional Person incurred in connection

   with the Chapter 11 Cases or any successor cases under any chapter of the Bankruptcy Code.

   Nothing in this Final Order or otherwise shall be construed to obligate the DIP Agent, the DIP

   Lenders, the Term Lenders, the Hedge Counterparties, the holders of Second Lien Notes, the

   Term Agent, or the Second Lien Trustee in any way, to pay compensation to, or to reimburse

   expenses of, any Professional Person or to guarantee that the Debtors have sufficient funds to

   pay such compensation or reimbursement.

                 (e)     Payment of Carve Out On or After the Termination Declaration Date.

   Any payment or reimbursement made on or after the occurrence of the Termination Declaration

   Date in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a

   dollar-for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of, the

   DIP Obligations secured by the DIP Facility collateral and shall be otherwise entitled to the

   protections granted under this Final Order, the DIP Loan Documents, the Bankruptcy Code, and

   applicable law.




                                                 34
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 35 35  of 53
                                                                     of 53



                  12.        Limitation on Surcharging the Collateral,
                          Waiver of Equities of the Case, and Marshalling.

                          (a)     Subject to and only effective upon the entry of this Final Order,

   with the exception of the Carve Out, none of the DIP Collateral, the Hedge Collateral, or the

   Primed Collateral shall be subject to surcharge by the Debtors or any other party in interest

   pursuant to sections 105 and 506(c) of the Bankruptcy Code or otherwise without the prior

   written consent of the secured party whose collateral would be impacted and no such consent

   shall be implied from any other action, inaction or acquiescence by such parties in this

   proceeding, including, without limitation, the DIP Secured Parties’ funding of the Debtors’

   ongoing operations.

                          (b)     The “equities of the case” exception set forth in section 552(b) of

   the Bankruptcy Code is hereby deemed waived by any party in interest with respect to the Term

   Facility Secured Parties, the Second Lien Secured Parties, the Hedge Counterparties and the

   Primed Collateral.

                          (c)     In no event shall the DIP Secured Parties or the Primed Parties be

   subject to the equitable doctrine of “marshalling” or any similar doctrine with respect to the DIP

   Collateral, the Primed Collateral, or the Hedge Collateral, as applicable.

                  13.     Adequate Protection of Term Facility Secured Parties.           As adequate

    protection of their interests in the Term Facility Collateral, the Term Facility Secured Parties are

    entitled to adequate protection in an amount equal to the aggregate diminution in the value of

    their interests in the Term Facility Collateral from and after the Petition Date (the “Term

    Facility Adequate Protection Claims”), for any reason provided for under the Bankruptcy Code,

    including, without limitation, any such diminution resulting from the depreciation, sale, lease,

    or use by the Debtors (or other decline in value) of the Term Facility Collateral (including for



                                                    35
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 36 36  of 53
                                                                     of 53



    any use of the Term Facility Collateral constituting Cash Collateral), the priming of the Term

    Liens pursuant to this Final Order or the DIP Loan Documents, and the imposition of the

    automatic stay pursuant to section 362 of the Bankruptcy Code. In consideration of the Term

    Facility Adequate Protection Claims, the Term Facility Secured Parties are hereby granted the

    following (collectively, “Term Facility Adequate Protection”):

                          (a)     Adequate Protection Liens. As security for the payment of the

   Adequate Protection Obligations in respect of the Term Facility Adequate Protection Claims, the

   Term Agent, on behalf of itself and the Term Lenders, is granted (i) a valid and perfected

   replacement security interest and lien in the Term Facility Collateral and all proceeds thereof,

   which shall rank junior in priority to the Carve Out, the Hedge Liens and the DIP Liens thereon

   and (ii) a valid and perfected security interest and lien in all assets of the Debtors that do not

   constitute Term Facility Collateral but constitute DIP Collateral (including, for the avoidance of

   doubt, any Avoidance Actions and the proceeds thereof subject to and only effective upon the

   entry of this Final Order), which shall rank junior in priority to the Carve Out, the Permitted

   Encumbrances, the Hedge Liens and the DIP Liens (the foregoing clauses (i) and (ii)

   collectively, the “Term Facility Adequate Protection Liens”). Upon entry of this Final Order,

   whether or not the Term Agent takes any action to validate, perfect, or confirm perfection, the

   Term Facility Adequate Protection Liens shall be deemed valid, perfected, allowed, enforceable,

   nonavoidable, and not subject to challenge, dispute, avoidance, impairment, or subordination

   (other than as set forth in this Final Order), at the time and as of the date of entry of this Final

   Order.   The Term Agent is hereby authorized, but not required, to file or record, in any

   jurisdiction, financing statements, intellectual property filings, mortgages, deeds of trust, notices

   of lien or similar instruments, or take any other action in order to validate and perfect the Term




                                                    36
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 37 37  of 53
                                                                     of 53



   Facility Adequate Protection Liens. Upon the request of the Term Agent or the Term Lenders,

   the Debtors, without any further consent of any party, are authorized and directed to take,

   execute, and deliver such instruments to enable the Term Agent to validate, perfect, preserve,

   and enforce the Term Facility Adequate Protection Liens consistent with the terms of this Final

   Order. A certified copy of this Final Order may be filed with or recorded in filing or recording

   offices in addition to or in lieu of such financing statements, mortgages, deeds of trust, notices of

   lien or similar instruments, and all filing offices are hereby authorized to accept such certified

   copy of this Final Order for filing and recording.

                          (b)     Administrative Expense Claim. As security for the payment of the

   Adequate Protection Obligations, the Term Agent, on behalf of itself and the Term Lenders, is

   hereby granted an allowed administrative expense claim against the Debtors (the “Term

   Administrative Expense Claim”) under section 507(b) of the Bankruptcy Code, with priority in

   payment over any and all administrative expenses of the kinds specified or ordered pursuant to

   any provision of the Bankruptcy Code, subject and subordinate only to the Hedge Obligations,

   the DIP Superpriority Claims, any indebtedness secured by Permitted Encumbrances and the

   Carve Out, provided, however that the Term Facility Secured Parties shall not receive or retain

   any payments, property, or other amounts in respect of the Term Administrative Expense Claim

   unless and until the indefeasible payment in full in cash of all DIP Obligations pursuant to the

   DIP Credit Agreement.

                          (c)     Adequate Protection Payments to the Term Facility Secured

   Parties. As additional adequate protection, the Term Facility Secured Parties shall be entitled to

   and the Debtors are directed to pay in cash (x) within three (3) business days following the initial

   funding of the DIP Facility, all accrued and unpaid reasonable and documented fees and




                                                    37
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 38 38  of 53
                                                                     of 53



   expenses incurred by the Term Facility Secured Parties prior to the Petition Date including the

   fees and expenses of (i) counsel for the Term Agent, (ii) counsel for the Term Lenders, and

   (iii) one or more financial advisors and/or consultants for each of the Term Agent and the Term

   Lenders (the foregoing clauses (i), (ii), and (iii) collectively, the “Term Advisors”) and (y) after

   the entry of this Final Order, within five business days of presentment of invoices to the Debtors

   and the U.S. Trustee (and in no event more frequently than monthly) the reasonable and

   documented costs, fees, expenses, and indemnities incurred by the Term Facility Secured Parties

   after the Petition Date, including, without limitation, the fees and expenses of the Term Advisors

   in accordance with, and indemnity obligations payable by the Debtors under, the Term Credit

   Agreement. In the event that within ten (10) calendar days from receipt of such invoices the U.S.

   Trustee raises an objection, and the parties are unable to resolve any dispute regarding the fees

   and expenses included in such invoice, the Court shall hear and determine such dispute;

   provided, however, that payment of invoices shall not be delayed based on any such objections

   and the relevant professional shall only be required to disgorge amounts objected to upon being

   “so ordered” pursuant to a final order of the Court.

                          (d)     Interest Accrual on the Term Facility. All interest on the Term

   Facility, including accrued and unpaid interest as of the Petition Date and interest accruing

   thereafter, shall not be paid currently, but shall continue to accrue at the non-default rate set forth

   in the Term Credit Agreement. To the extent permitted under the Bankruptcy Code, all such

   interest shall be deemed part of the Term Facility Secured Parties’ secured claim for all purposes,

   including for purposes of any credit bid under section 363(k) of the Bankruptcy Code.

                  14.     Adequate Protection of Second Lien Secured Parties.               As adequate

    protection of their interests in the Second Lien Collateral, the Second Lien Secured Parties are




                                                     38
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 39 39  of 53
                                                                     of 53



    entitled to adequate protection in an amount equal to the aggregate diminution in the value of

    their interests in the Second Lien Collateral from and after the Petition Date (the “Second Lien

    Adequate Protection Claims”), for any reason provided for under the Bankruptcy Code,

    including, without limitation, any such diminution resulting from the depreciation, sale, lease,

    or use by the Debtors (or other decline in value) of the Second Lien Collateral (including for

    any use of the Second Lien Collateral constituting Cash Collateral), the priming of the Second

    Lien Notes Liens pursuant to this Final Order or the DIP Loan Documents, and the imposition

    of the automatic stay pursuant to section 362 of the Bankruptcy Code. In consideration of the

    Second Lien Adequate Protection Claim, the Second Lien Secured Parties are hereby granted

    the following (collectively, “Second Lien Adequate Protection”):

                          (a)     Adequate Protection Liens. As security for the payment of the

   Adequate Protection Obligations in respect of the diminution, if any, of the Second Lien Secured

   Parties’ interests in the Second Lien Collateral, including for any use of the Second Lien

   Collateral constituting Cash Collateral, the Second Lien Trustee, on behalf of itself and the

   Second Lien Noteholders, is granted (i) a valid and perfected replacement security interest and

   lien in the Second Lien Collateral and all proceeds thereof, which shall rank junior in priority to

   the Term Liens, the Term Facility Adequate Protection Liens, the Carve Out, the Hedge Liens

   and the DIP Liens thereon and (ii) a valid and perfected security interest and lien in all assets of

   the Debtors that do not constitute Second Lien Collateral but constitute DIP Collateral

   (including, for the avoidance of doubt, any Avoidance Actions and the proceeds thereof subject

   to and only effective upon the entry of this Final Order), which shall rank junior in priority to the

   Term Liens, the Term Facility Adequate Protection Liens, the Carve Out, the Permitted

   Encumbrances, the Hedge Liens and the DIP Liens thereon (the foregoing clauses (i) and (ii)




                                                    39
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 40 40  of 53
                                                                     of 53



   collectively, the “Second Lien Adequate Protection Liens”). Upon entry of this Final Order,

   whether or not the Second Lien Trustee takes any action to validate, perfect, or confirm

   perfection, the Second Lien Adequate Protection Liens shall be deemed valid, perfected,

   allowed, enforceable, nonavoidable, and not subject to challenge, dispute, avoidance,

   impairment, or subordination (other than as set forth in this Final Order), at the time and as of the

   date of entry of this Final Order. The Second Lien Trustee is hereby authorized, but not

   required, to file or record, in any jurisdiction, financing statements, intellectual property filings,

   mortgages, deeds of trust, notices of lien or similar instruments, or take any other action in order

   to validate and perfect the Second Lien Adequate Protection Liens. Upon the request of the

   Second Lien Trustee or the Second Lien Noteholders, the Debtors, without any further consent of

   any party, are authorized and directed to take, execute, and deliver such instruments to enable the

   Second Lien Trustee to validate, perfect, preserve, and enforce the Second Lien Adequate

   Protection Liens consistent with the terms of this Final Order. A certified copy of this Final

   Order may be filed with or recorded in filing or recording offices in addition to or in lieu of such

   financing statements, mortgages, deeds of trust, notices of lien or similar instruments, and all

   filing offices are hereby authorized to accept such certified copy of this Final Order for filing and

   recording.

                          (b)     Administrative Expense Claim. As security for the payment of the

   Adequate Protection Obligations, the Second Lien Trustee, on behalf of itself and the Second

   Lien Noteholders, is hereby granted an allowed administrative expense claim against the Debtors

   (the “Second Lien Administrative Expense Claim”) under section 507(b) of the Bankruptcy

   Code, with priority in payment over any and all administrative expenses of the kinds specified or

   ordered pursuant to any provision of the Bankruptcy Code, subject and subordinate only to the




                                                    40
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 41 41  of 53
                                                                     of 53



   Term Administrative Expense Claim, the Hedge Obligations, the DIP Superpriority Claims, any

   indebtedness secured by Permitted Encumbrances and the Carve Out, provided, however that the

   Second Lien Secured Parties shall not receive or retain any payments, property, or other amounts

   in respect of the Second Lien Administrative Expense Claim unless and until the indefeasible

   payment in full in cash of all DIP Obligations pursuant to the DIP Credit Agreement.

                         (c)     Adequate Protection Payments to the Second Lien Secured Parties.

   As additional adequate protection, the Second Lien Secured Parties shall be entitled to and the

   Debtors are directed to pay in cash (x) within three (3) business days following the initial

   funding of the DIP Facility, all accrued and unpaid reasonable and documented fees and

   expenses incurred by the Second Lien Secured Parties prior to the Petition Date including the

   fees and expenses of (i) counsel for the Second Lien Trustee, (ii) counsel for the Second Lien

   Noteholders, and (iii) one or more financial advisors and/or consultants for each of the Second

   Lien Trustee and the Second Lien Noteholders (the foregoing clauses (i), (ii), and (iii)

   collectively, the “Second Lien Advisors”) and (y) after the entry of this Final Order, within five

   business days of presentment of invoices to the Debtors and the U.S. Trustee (and in no event

   more frequently than monthly) the reasonable and documented costs, fees, expenses, and

   indemnities incurred by the Second Lien Secured Parties after the Petition Date, including,

   without limitation, the fees and expenses of the Second Lien Advisors in accordance with, and

   indemnity obligations payable by the Debtors under, the Second Lien Indenture. In the event

   that within ten (10) calendar days from receipt of such invoices the U.S. Trustee raises an

   objection, and the parties are unable to resolve any dispute regarding the fees and expenses

   included in such invoice, the Court shall hear and determine such dispute; provided, however,

   that payment of invoices shall not be delayed based on any such objections and the relevant




                                                  41
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 42 42  of 53
                                                                     of 53



   professional shall only be required to disgorge amounts objected to upon being “so ordered”

   pursuant to a final order of the Court.

                          (d)     Interest Accrual on the Second Lien Notes. All interest on the

   Second Lien Notes, including accrued and unpaid interest as of the Petition Date and interest

   accruing thereafter, shall not be paid currently, but shall continue to accrue at the non-default

   rate set forth in the Second Lien Indenture. To the extent permitted under the Bankruptcy Code,

   all such interest shall be deemed part of the Second Lien Secured Parties’ secured claim for all

   purposes, including for purposes of any credit bid under section 363(k) of the Bankruptcy Code.

                   15.          Adequate Protection of Hedge Counterparties.           As adequate

   protection of their interests in the Hedge Collateral, the Hedge Counterparties are entitled to

   adequate protection in an amount equal to the aggregate diminution in the value of their interests

   in the Hedge Collateral from and after the Petition Date (the “Hedge Adequate Protection

   Claims” and, together with the Term Facility Adequate Protection Claims, and the Second Lien

   Adequate Protection Claims, the “Adequate Protection Claims”), for any reason provided for

   under the Bankruptcy Code, including, without limitation, any such diminution resulting from

   the depreciation, sale, lease, or use by the Debtors (or other decline in value) of the Hedge

   Collateral (including for any use of the Hedge Collateral constituting Cash Collateral) and the

   imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code.               In

   consideration of the Hedge Adequate Protection Claim, the Hedge Counterparties are hereby

   granted the following (collectively, “Hedge Adequate Protection” and, together with the Term

   Facility Adequate Protection and the Second Lien Adequate Protection, the “Adequate

   Protection”):




                                                  42
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 43 43  of 53
                                                                     of 53



                          (a)     Adequate Protection Liens. As security for the payment of the

   Adequate Protection Obligations in respect of the diminution, if any, of the Hedge

   Counterparties’ interests in the Hedge Collateral, including for any use of the Hedge Collateral

   constituting Cash Collateral, the Hedge Counterparties are granted (i) a valid and perfected

   replacement security interest and lien in the Hedge Collateral and all proceeds thereof, which

   shall rank junior in priority to the Carve Out and the Hedge Liens thereon, and (ii) a valid and

   perfected security interest and lien in all assets of the Debtors that do not constitute Hedge

   Collateral but constitute DIP Collateral (including, for the avoidance of doubt, any Avoidance

   Actions and the proceeds thereof subject to and only effective upon the entry of this Final

   Order), which shall rank junior in priority to the Carve Out, the Permitted Encumbrances, and the

   Hedge Liens (the foregoing clauses (i) and (ii) collectively, the “Hedge Adequate Protection

   Liens” and, together with the Term Facility Adequate Protection Liens, and the Second Lien

   Adequate Protection Liens, the “Adequate Protection Liens”). Upon entry of this Final Order,

   whether or not the Hedge Counterparties take any action to validate, perfect, or confirm

   perfection, the Hedge Adequate Protection Liens shall be deemed valid, perfected, allowed,

   enforceable, nonavoidable, and not subject to challenge, dispute, avoidance, impairment, or

   subordination (other than as set forth in this Final Order), at the time and as of the date of entry

   of this Final Order. The Hedge Counterparties are hereby authorized, but not required, to file or

   record, in any jurisdiction, financing statements, intellectual property filings, mortgages, deeds of

   trust, notices of lien or similar instruments, or take any other action in order to validate and

   perfect the Hedge Adequate Protection Liens. Upon the request of the either of the Hedge

   Counterparties, the Debtors, without any further consent of any party, are authorized and directed

   to take, execute, and deliver such instruments to enable the respective Hedge Counterparty to




                                                    43
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 44 44  of 53
                                                                     of 53



   validate, perfect, preserve, and enforce the Hedge Adequate Protection Liens consistent with the

   terms of this Final Order. A certified copy of this Final Order may be filed with or recorded in

   filing or recording offices in addition to or in lieu of such financing statements, mortgages, deeds

   of trust, notices of lien or similar instruments, and all filing offices are hereby authorized to

   accept such certified copy of this Final Order for filing and recording.

                          (b)    Administrative Expense Claim. As security for the payment of the

   Adequate Protection Obligations, the Hedge Counterparties, each individually, is hereby granted

   an allowed administrative expense claim against the Debtors (the “Hedge Administrative

   Expense Claim”) under section 507(b) of the Bankruptcy Code, with priority in payment over

   any and all administrative expenses of the kinds specified or ordered pursuant to any provision of

   the Bankruptcy Code, subject and subordinate only to the Hedge Obligations, any indebtedness

   secured by Permitted Encumbrances, and the Carve Out.

                  16.     Automatic Stay. Without requiring further order from the Bankruptcy

   Court and without the need for filing any motion for relief from the automatic stay or any other

   pleading, the automatic stay provisions of section 362 of the Bankruptcy Code are vacated and

   modified to the extent necessary to permit the Majority DIP Lenders or the DIP Agent at the

   direction of the Majority DIP Lenders to, immediately upon the occurrence and during the

   continuance of any Event of Default (as defined in the DIP Credit Agreement), (a) send written

   notice of the occurrence of an Event of Default (such notice, the “Event of Default Notice”)

   and/or (b) without limitation and without prior notice, terminate commitments under the DIP

   Facility, pursuant to and subject to the terms and conditions set forth in the DIP Loan Documents

   and in this Final Order. Upon the occurrence and during the continuation of an Event of Default,

   the Majority DIP Lenders or the DIP Agent at the direction of the Majority DIP Lenders may file




                                                   44
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 45 45  of 53
                                                                     of 53



   a motion on shortened notice seeking relief from the automatic stay (the “Stay Relief Motion”) in

   order to (a) accelerate the DIP Obligations and (b) permit the DIP Lenders to exercise any or all

   of their rights and remedies set forth in the DIP Orders or the DIP Loan Documents, including

   without limitation: (i) directing the DIP Agent to foreclose on the DIP Collateral and (ii) moving

   the Bankruptcy Court (on shortened notice) to appoint a chief restructuring officer for the

   Debtors, which motion the Debtors shall not oppose. The Debtors shall not object to the Stay

   Relief Motion being heard on shortened notice so long as the Stay Relief Motion is heard on at

   least five (5) business days’ notice. After the Majority DIP Lenders or the DIP Agent at the

   direction of the Majority DIP Lenders have sent the Event of Default Notice, any obligation

   otherwise imposed on the DIP Lenders to provide any loans or advances under the DIP Facility

   shall be immediately suspended, unless otherwise ordered by the Court or to fund the Carve Out

   Reserves as provided herein. Until such time that the Stay Relief Motion has been adjudicated

   by the Court (the “Notice Period”), the Debtors may (a) use the proceeds of the DIP Facility (to

   the extent drawn prior to the occurrence of Event of Default) or Cash Collateral to (i) fund

   operations in accordance with the DIP Credit Agreement and the Budget and (ii) to fund the

   Carve Out Reserves and (b) seek a determination at the hearing on such Stay Relief Motion

   whether an Event of Default has occurred. Notwithstanding the occurrence of an Event of

   Default, the Maturity Date, and/or termination of the commitments under the DIP Credit

   Agreement, all of the rights, remedies, benefits, and protections provided to the DIP Secured

   Parties under the DIP Loan Documents and this Final Order shall survive.

                  17.    Modification of Exclusivity Periods; DIP Toggle Notice.

                         (a)     Upon the occurrence of an Event of Default and an acceleration of

   the DIP Obligations, the DIP Lenders (or the DIP Agent at the direction of the Majority DIP




                                                  45
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 46 46  of 53
                                                                     of 53



   Lenders) may file a motion to seek to terminate or modify the Debtors’ plan exclusivity periods

   under section 1121 of the Bankruptcy Code and have such motion heard on shortened notice (but

   in no event on less than five (5) business days’ notice).

                             (b)     Upon the occurrence of an Event of Default, the DIP Lenders (or

   the DIP Agent at the direction of the Majority DIP Lenders) may also deliver to the Debtors a

   DIP Toggle Notice.3 The delivery of the DIP Toggle Notice shall not be, and shall not be

   deemed, a waiver of any Event of Default (including, but not limited to, any Event of Default on

   which the DIP Toggle Notice is based) or any rights or remedies of the DIP Agent or the DIP

   Lenders in respect of any Event of Default (including the right to terminate the DIP Facility and

   accelerate the DIP Loans). All such rights and remedies shall be reserved and preserved and the

   DIP Agent or the DIP Lenders, as applicable, may exercise such rights and remedies (including

   the right to terminate the DIP Facility and accelerate the DIP Loans) following the delivery of a

   DIP Toggle Notice.

                     18.     Credit Bid. The following parties shall have the right to credit bid all or a

       portion the obligations owed to them by the Debtors in accordance with section 365(k) as

       follows: (a) the DIP Agent, upon direction of the Majority DIP Lenders in their sole discretion,

       with respect to the DIP Obligations; (b) the Term Agent, upon the direction of the Term

       Lenders in their sole discretion, with respect to the Term Obligations; (c) the Second Lien

       Trustee, upon the direction of the Second Lien Noteholders in their sole discretion, with respect

       to the Second Lien Obligations; and (d) the Term Agent, upon the direction of the Hedge

       Counterparties in their sole discretion, with respect to the Hedge Obligations.

   3 A “DIP Toggle Notice” is a notice delivered to the Debtors and filed on the docket of the Chapter 11 Cases, in
   each case by the Majority DIP Lenders or DIP Agent at the direction of the Majority DIP Lenders, stating that the
   DIP Toggle Event has occurred. A “DIP Toggle Event” shall have occurred upon (a) the occurrence of an Event of
   Default and (b) the delivery of a DIP Toggle Notice.



                                                          46
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 47 47  of 53
                                                                     of 53



                   19.    Reservation of Rights. Nothing in this Final Order shall be deemed a

    waiver of any of the Debtors’ or the Primed Parties’ respective rights, remedies, claims or

    defenses, including, but not limited to, any rights, remedies, claims or defenses under the Term

    Loan Documents, the Second Lien Documents, or under applicable law (including, but not

    limited to, any claims under Bankruptcy Code section 506(b)).          Any and all such rights,

    remedies, claims and defenses of the Primed Parties, as applicable, are expressly reserved and

    preserved and may be asserted by the Primed Parties at any time during the Chapter 11 Cases.

                   20.    Modification of the DIP Loan Documents. The DIP Loan Documents may

    be modified or amended (including any waiver of any Event of Default) without further order of

    the Bankruptcy Court so long as such modification or amendment complies with, and is

    effectuated in accordance with, the DIP Credit Agreement.

                   21.     Modification of Automatic Stay.      The automatic stay imposed under

   Bankruptcy Code section 362 is hereby modified and lifted to the extent necessary to effectuate

   the terms of this Final Order.

                   22.     Binding Effect. Subject to Paragraph 28, the provisions of this Final

   Order shall be binding upon and inure to the benefit of the DIP Secured Parties, the Primed

   Parties, the Hedge Counterparties, the Debtors, their estates, all parties in interest, and each of

   the foregoing parties’ respective successors and assigns, including, but not limited to, any

   statutory committee appointed in the Chapter 11 Cases, any successor in interest in the Chapter

   11 Cases or to the Debtors, any examiner, or any trustee hereafter appointed for the estate of any

   of the Debtors, whether in these Chapter 11 Cases or in the event of the conversion of any of the

   Chapter 11 Cases to a liquidation under chapter 7 of the Bankruptcy Code. Such binding effect

   is an integral part of this Final Order.




                                                   47
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 48 48  of 53
                                                                     of 53



                  23.     Survival.   The provisions of this Final Order and any actions taken

   pursuant hereto shall survive (x) the entry of any order (a) confirming any plan of reorganization

   or liquidation in any of the Chapter 11 Cases (and, to the extent not satisfied in full, in cash, the

   DIP Obligations shall not be discharged by the entry of any such order, or pursuant to section

   1141(d)(4) of the Bankruptcy Code, each of the Debtors having hereby waived such discharge),

   (b) converting any of the Chapter 11 Cases to a chapter 7 case, or (c) dismissing any of the

   Chapter 11 Cases, and (y) the repayment or refinancing of the DIP Obligations.               Unless

   otherwise provided in the DIP Loan Documents, the DIP Liens, DIP Superpriority Claims, the

   Primed Liens, the Hedge Liens, the Adequate Protection Liens, and the Adequate Protection

   Claims shall continue in full force and effect notwithstanding the entry of any such order, and

   such claims and liens shall maintain their priority as provided by this Final Order, the DIP Loan

   Documents, and the Prepetition Documents to the maximum extent permitted by law until all of

   the DIP Obligations, the Hedge Obligations, and the Term Obligations are indefeasibly paid in

   full, in cash, and discharged.

                  24.     Access to the Debtors. In accordance with the provisions of access in the

   DIP Loan Documents, the Debtors shall (a) permit any representatives, agents, and/or employees

   of the DIP Agent and their respective professionals to have commercially reasonable access to

   their premises and records during normal business hours (without unreasonable interference with

   the proper operation of the Debtors’ businesses); and (b) cooperate, consult with, and provide to

   such representatives, agents, and/or employees all such information, documents, and records as

   they may reasonably request.

                  25.     No Third Party Rights. Except as explicitly provided for herein, this Final

   Order does not create any rights for the benefit of any party, creditor, equity holder, or other




                                                    48
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 49 49  of 53
                                                                     of 53



   entity other than the DIP Agent, the DIP Lenders, the Primed Parties, and the Debtors, and their

   respective successors and assigns.

                  26.     Subsequent Reversal. If any or all of the provisions of this Final Order or

   the DIP Loan Documents are hereafter modified, vacated, amended, or stayed by subsequent

   order of the Bankruptcy Court or any other court: (a) such modification, vacatur, amendment, or

   stay shall not affect the validity of the DIP Obligations or the Adequate Protection Obligations or

   the validity, enforceability, or priority of the DIP Liens, DIP Superpriority Claims, the Term

   Facility Adequate Protection and the Second Lien Adequate Protection or other protections

   authorized or created by this Final Order or the DIP Loan Documents; and (b) the DIP

   Obligations and the Adequate Protection Obligations shall continue to be governed in all respects

   by the original provisions of this Final Order and the DIP Loan Documents, and the validity of

   any obligations, security interests, liens, or other protections described in this Paragraph shall be

   protected by section 364(e) of the Bankruptcy Code.

                  27.     Effect of Dismissal of the Chapter 11 Cases. If the Chapter 11 Cases are

   dismissed, converted, or substantively consolidated, then neither the entry of this Final Order nor

   the dismissal, conversion, or substantive consolidation of these Chapter 11 Cases shall affect the

   rights of the DIP Secured Parties, the Hedge Counterparties, and the Primed Parties (as to the

   Adequate Protection) under their respective documents or this Final Order, and all of the

   respective rights and remedies thereunder of the DIP Secured Parties, the Hedge Counterparties,

   and the Primed Parties (as to Adequate Protection) shall remain in full force and effect as if the

   Chapter 11 Cases had not been dismissed, converted, or substantively consolidated.

   Notwithstanding the entry of an order dismissing any of the Chapter 11 Cases at any time, (a) the

   DIP Liens and the DIP Superpriority Claims granted to and conferred pursuant to this Final




                                                    49
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 50 50  of 53
                                                                     of 53



   Order and the DIP Loan Documents shall continue in full force and effect and shall maintain

   their priorities as provided in this Final Order until all DIP Obligations shall have been paid and

   satisfied in full and all commitments to lend under the DIP Loan Documents have been

   terminated; (b) the Adequate Protection granted to and conferred upon the Primed Parties shall

   continue in full force and effect and shall maintain their priorities as provided in this Final Order

   until the Adequate Protection Obligations have been satisfied; and (c) the Bankruptcy Court shall

   retain jurisdiction, notwithstanding such dismissal, for the purpose of enforcing the DIP Liens,

   the DIP Superpriority Claims, the Adequate Protection Liens, and the Adequate Protection

   Claims granted in this Final Order and the DIP Loan Documents.

                  28.     Stipulations Binding. The stipulations and admissions contained in this

   Final Order, including, without limitation, in Paragraph J of this Final Order, shall be binding on

   the Debtors’ estates and any successor thereto (including, without limitation, any chapter 7 or

   chapter 11 trustee appointed or elected for any of the Debtors) and all parties in interest,

   including, without limitation, any statutory committee appointed in the Chapter 11 Cases, unless

   a party has timely commenced a contested matter or adversary proceeding (a “Challenge”) after

   obtaining requisite standing and authority (a) challenging the amount, validity, or enforceability

   of the Term Obligations or the Second Lien Obligations, (b) challenging the perfection or

   priority of the Primed Liens, (c) challenging the existence of any DIP Collateral, or (d) otherwise

   asserting any objections, claims, or causes of action (including, without limitation, any actions

   for preferences, fraudulent conveyances, or other avoidance power claims) against the Primed

   Parties relating to the Primed Liens, the Term Obligations, the Second Lien Obligations, the

   Term Loan Documents, or the Second Lien Documents no later than the earlier of (i) forty (40)

   days after the Petition Date, (ii) thirty (30) days after the appointment of a Committee, or (iii) the




                                                    50
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 51 51  of 53
                                                                     of 53



   date of confirmation of a chapter 11 plan of reorganization in these Chapter 11 Cases. If no such

   Challenge is timely commenced as of such dates then, without further order of the Bankruptcy

   Court, to the extent not theretofore indefeasibly repaid, satisfied, or discharged, as applicable, the

   claims, liens, and security interests of the Primed Parties shall, without further order of the

   Bankruptcy Court, be deemed to be finally allowed for all purposes in the Chapter 11 Cases and

   any subsequent Chapter 7 cases and shall not be subject to challenge or objection by any party in

   interest as to validity, priority, amount or otherwise. Notwithstanding anything to the contrary

   herein (other than as set forth in Paragraph J), if no Challenge is timely commenced and

   sustained, the stipulations contained in Paragraph J of this Final Order shall be binding on the

   Debtors’ estates, any statutory committee appointed in the Chapter 11 Cases, and all parties in

   interest. If any such Challenge is timely commenced and/or sustained, the stipulations contained

   in Paragraph J shall nonetheless remain binding on the Debtors’ estates, any statutory committee

   appointed in the Chapter 11 Cases, and all parties in interest (other than as set forth in Paragraph

   J), except to the extent that such stipulations were expressly challenged in such Challenge.

   Nothing in this Final Order vests or confers on any Person (as defined in the Bankruptcy Code),

   including any statutory committee appointed or formed in the Chapter 11 Cases, standing or

   authority to pursue any cause of action belonging to the Debtors or their estates, including,

   without limitation, any Challenges. For the avoidance of doubt, as to the Debtors, upon entry of

   this Final Order, all Challenges and any rights to assert any Challenges are hereby irrevocably

   waived and relinquished as of the Petition Date.

                  29.     Hedge Liens. Notwithstanding anything to the contrary herein, and except

   as otherwise provided in the Bankruptcy Code or pursuant to a further order of the Bankruptcy

   Court, the Hedge Liens shall not be released without consent of each of the Hedge




                                                    51
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 52 52  of 53
                                                                     of 53



   Counterparties to the extent the Hedge Obligations have not theretofore been indefeasibly repaid,

   satisfied, or discharged, as applicable.

                  30.     Certain Ad Valorem Tax Obligations. For the avoidance of doubt: (a) any

   tax liens (the “Ad Valorem Tax Liens”) of Harris County, Texas securing the ad valorem

   property tax obligations (the “Ad Valorem Tax Obligations”) described in the objection of Harris

   County, Texas to the Motion [Docket No. 192] shall constitute Permitted Encumbrances; and (b)

   the proceeds of the sale of any collateral encumbered by the Ad Valorem Tax Liens shall first be

   applied to any related outstanding Ad Valorem Tax Obligations.

                  31.     Controlling Effect of Final Order. To the extent any provision of this

   Final Order conflicts with any provision of the Interim Order, the Motion, any Prepetition

   Document, or any DIP Facility Document, the provisions of this Final Order shall control.

                  32.     Retention of Jurisdiction. Notwithstanding any provision in the DIP Loan

   Documents or the Prepetition Documents, the Bankruptcy Court shall retain jurisdiction over all

   matters pertaining to the implementation, interpretation, and enforcement of this Final Order, the

   DIP Facility, or the DIP Loan Documents.

                  33.     Bankruptcy Rule 6004(h) Waiver. The ten (10) day stay provisions of

   Bankruptcy Rule 6004(h) are waived and shall not apply to this Final Order.

                  34.     Notice under the Final Order.       Any notice required to be provided

   pursuant to this Final Order shall be provided to the following:

                          (a)     Gastar Exploration Inc., 1331 Lamar, Suite 650, Houston, Texas

   77010 (Attn: Michael A. Gerlich, Senior Vice President and Chief Financial, Trent Determann,

   Vice President-Finance);




                                                   52
Case 18-36057   Document
       Case 18-36057     199 213
                     Document FiledFiled
                                    in TXSB    onon
                                         in TXSB  11/26/2018  Page
                                                    11/28/18 Page 53 53  of 53
                                                                     of 53



                          (b)     Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois

   60654 (Attn: Ross M. Kwasteniet, P.C., John R. Luze, Esq.), proposed counsel to the Debtors;

                          (c)     Milbank, Tweed, Hadley & McCloy LLP, 2029 Century Park

   East, 33rd Floor, Los Angeles, CA 90067 (Attn: Paul Aronzon, Esq., Thomas Kreller, Esq. and

   Haig Maghakian, Esq.), counsel to the DIP Lenders;

                          (d)     Arnold & Porter Kaye Scholer LLP, 250 West 55th Street, New

   York, NY 10019 (Attn: Alan Glantz, Esq. and Brian J. Lohan, Esq.), counsel to the DIP Agent;

                          (e)     Haynes and Boone, LLP, 2323 Victory Ave # 700, Dallas, Texas

   75219 (Attn: J. Frasher Murphy), and 1221 McKinney Street, Suite 2100, Houston, Texas 77007

   (Attn: Arsalan Muhammad), counsel to NextEra;

                          (f)     The U.S. Trustee, 515 Rusk Street, Suite 3516, Houston, Texas

   77002 (Attn: Hector Duran, Esq. and Stephen Statham, Esq.).

                  35.     Notice of the Final Order. The Debtors shall promptly mail or fax copies

   of this Final Order to the Notice Parties within three (3) business days of the date hereof.


   Dated: ___________________, 2018
 Signed:
            November 28, 2018
                                                     ____________________________________
                                                                  Marvin Isgur
                                                 MARVIN United
                                                         ISGURStates Bankruptcy Judge
                                                 UNITED STATES BANKRUPTCY JUDGE




                                                    53
